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                                                                     UNITED STATES DISTRICT COURT
                                   2                               NORTHERN DISTRICT OF CALIFORNIA
                                   3

                                   4     GAIL GRANCSAY,                                    CASE NO. 22-cv-2014-YGR
                                   5                  Plaintiff,
                                   6                                                       ORDER OF REFERENCE TO MAGISTRATE
                                                vs.                                        JUDGE FOR ALL PURPOSES
                                   7     MONTEREY FINANCIAL SERVICES, INC.
                                   8                  Defendant.
                                   9          Pursuant to Local Rule 73-1(b) and the consent of the parties, this matter is REFERRED to a
                                  10   Magistrate Judge for all purposes including trial and entry of judgment.
                                  11          The Case Management Conference scheduled for Thursday, July 14, 2022 is VACATED.
                                  12   The parties will be advised of the date, time, and place of the next appearance by notice from the
Northern District of California
 United States District Court




                                  13   Magistrate Judge.
                                  14          IT IS SO ORDERED.
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                                  16   Dated: July 14, 2022
                                  17                                                           YVONNE GONZALEZ ROGERS
                                                                                              UNITED STATES DISTRICT JUDGE
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                                       CC: MAGREF EMAIL
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